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UNITED sTA TES DISTRICT COURT F"~ED BY -~;. D.c.
WESTERN DISTRICT OF TENNESSEE 05 JUN 2| AH ll»' 2?
WES TERN DIVISION

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BARR`Y S. POLLACK JUDGMENT IN A CIVIL CASE

v-

U'NITED STA.TES OF AMERICA CASE NO: 03-2882-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Defendant's Second Motion For Reconsideration entered on
May 20, 2005, this cause is hereby dismissed.

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ROBERT R. D| TRC“;,FU

Clerk of Court

(M%/)

(By) Depu,f§[ Clerk J

 

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Honorable Bernice Donald
US DISTRICT COURT

